       Case 1:17-cv-00703-PKC-AJP Document 18-4 Filed 03/02/17 Page 1 of 1
February 18, 2017
500 Pearl Street
New York, New York 10007

David Roemer
345 Webster Ave., Apt. 4-O
Brooklyn, NY 11230

Dear Judge Castel,
I am the plaintiff, pro se, in a lawsuit against the President and General Counsel of Columbia
University and the Attorney Grievance Committee (17-cv-000703-PKC). I intend to file a
motion asking for a pre-trial conference.

I filed the complaint because I believe the defendants behaved immorally and unethically in
rejecting my offer to give a lecture/lesson on the arguments for God’s existence to the
Columbia U. community. The defendant’s conduct is inconsistent with the value called
academic freedom. The following is a quote from a book about academic freedom titled, “The
Great American University: Its Rise to Preeminence, its Indispensible National Role, Why it
Must Be Protected,” and written by Jonathan R. Cole: “the protection of ideas and expression
from external political interference or repression became absolutely fundamental to the
university.”

In response to an email I sent to the National Association of Scholars telling about Columbia
University’s behavior, the President of the NAS said:

It appears you have plunged into the “argument by design,” one of the age-old proofs of God’s
existence. Anyone who has taken a decent course in the history of philosophy is familiar with that
argument and anyone who pays attention to the modern debates in philosophy and science is
familiar with the updated versions. I would be deeply surprised if Columbia University’s chaplain,
assuming that person went to seminary, would be ignorant of the basic argument or its modern
adaptations.

I provide the President of the NAS with the same written information I have provided this
court in the amended complaint. Nevertheless, the NAS completely misconstrued the content
of my proposed lecture/lesson.

I am a retired high school science teacher and know first hand that students learn, not by
listening to a teacher talk, but by creating their own knowledge. In my lessons, I provided my
students with learning opportunities by using handouts and organizing group activities. Given
the difficulty in understanding paragraphs 9 and 10 of my complaint and footnotes 3, 4, 5, and
6, I intend to ask your honor to le me give this court a learner-centered lesson on the
arguments for God’s existence. I would use the handout that I have included in this letter.

Very truly yours,
David Roemer
347-414-2285
david@dkroemer.com
Faxed to Attorney Grievance Committee (212-287-1045), emailed to Lee Bollinger
(officeofthepresident@columbia.edu), and Jane Booth (aschilling@buckleysandler.com)
